                                  Case 21-19657-LMI         Doc 129      Filed 08/10/22     Page 1 of 2




                ORDERED in the Southern District of Florida on August 10, 2022.




                                                                        Laurel M. Isicoff
                                                                        Chief United States Bankruptcy Judge
___________________________________________________________________________


                                             UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF FLORIDA
                                                           www.flsb.uscourts.gov


                 In re: ANGELA KUNKEL
                                                                        Case No. 21-19657-LMI
                                                                        Chapter 13
                                Debtor          /




                  AGREED ORDER ON DEBTOR’S OBJECTION TO CLAIM NO. 5 OF U.S. SMALL
                                    BUSINESS ADMINISTRATION


                       THIS CASE came on to be heard on the Chapter 13 Consent Calendar on August 9, 2022 at
               9:00 a.m. on upon the Debtor’s Objection to Claim No. 5 of U.S. Small Business Administration
               [D.E. 119] and based upon the record and agreement of the parties, it is:

                           ORDERED AS FOLLOWS:

                    1. The Debtor’s Objection to Claim No. 5 is SUSTAINED.
                    2. Claim No. 5 is ALLOWED AS A SECURED CLAIM, and no part shall be deemed as an
                           unsecured claim, regardless of the original classification in the proof of claim as filed.




   LF-25 (rev. 12/01/15)
                              Case 21-19657-LMI            Doc 129        Filed 08/10/22        Page 2 of 2




                 3. U.S. Small Business Administration shall not receive a distribution from the Chapter 13
                        Trustee.
                                                                    ###


             Timothy S. Kingcade, Esq.
             1370 Coral Way
             Miami, FL 33145

             The party submitting the order shall serve a copy of the signed order on all required parties and file with the
             court a certificate of service conforming with Local Rule 2002‐1(F).




LF-25 (rev. 12/01/15)
